                                Case 6:17-bk-07779-CCJ                   Doc 1        Filed 12/14/17           Page 1 of 31

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Peppy Family Restaurant Group "LLC"

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA The Peppy Bistro
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2611 Edgewater Dr                                               13960 Caywood Pond Dr
                                  Orlando, FL 32804                                               Windermere, FL 34786
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                Case 6:17-bk-07779-CCJ                        Doc 1         Filed 12/14/17             Page 2 of 31
Debtor    Peppy Family Restaurant Group "LLC"                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
                                                                                                                                                     personal bk for
     List all cases. If more than 1,                                                                                                                 manager of
     attach a separate list                       Debtor     Gerald Carl Peppy, Jr                                           Relationship            LLC
                                                             Middle District of
                                                  District   Florida                       When                              Case number, if known



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                               Case 6:17-bk-07779-CCJ                      Doc 1        Filed 12/14/17            Page 3 of 31
Debtor   Peppy Family Restaurant Group "LLC"                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                                                              2611 Edgewater Dr
                                             Where is the property?           Orlando, FL, 32804-0000
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?

                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                              Case 6:17-bk-07779-CCJ                      Doc 1        Filed 12/14/17             Page 4 of 31
Debtor    Peppy Family Restaurant Group "LLC"                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 5, 2017
                                                  MM / DD / YYYY


                             X   /s/ Gerald C Peppy, Jr                                                   Gerald C Peppy, Jr
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ L. Todd Budgen                                                        Date December 5, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 L. Todd Budgen 0296960
                                 Printed name

                                 Budgen Law
                                 Firm name

                                 PO Box 520546
                                 Longwood, FL 32750
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 0296960
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                Case 6:17-bk-07779-CCJ                            Doc 1        Filed 12/14/17            Page 5 of 31




 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 5, 2017                        X /s/ Gerald C Peppy, Jr
                                                                       Signature of individual signing on behalf of debtor

                                                                       Gerald C Peppy, Jr
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                      Case 6:17-bk-07779-CCJ                                           Doc 1              Filed 12/14/17                         Page 6 of 31
 Fill in this information to identify the case:

 Debtor name            Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    5.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            45,815.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            45,820.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           392,672.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$              1,115.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             393,787.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                Case 6:17-bk-07779-CCJ                       Doc 1     Filed 12/14/17           Page 7 of 31
 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Bank of America
           3.1.     negative balance on the date of filing.                 merchant                        0028                                             $0.00



                    Bank of America
           3.2.     negative balance on date of filing.                     business                        4410                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     OUC utility deposit                                                                                                              $4,500.00




           7.2.     Park Edgewater Holdings (landlord)                                                                                               $9,800.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                Case 6:17-bk-07779-CCJ                          Doc 1     Filed 12/14/17        Page 8 of 31

 Debtor         Peppy Family Restaurant Group "LLC"                                              Case number (If known)
                Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                           $14,300.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Unopened alcohol
           inventory and some dry
           nonperisables.                             10/17/2017                          Unknown       Liquidation                         $1,000.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                             $1,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                Case 6:17-bk-07779-CCJ                       Doc 1     Filed 12/14/17        Page 9 of 31

 Debtor         Peppy Family Restaurant Group "LLC"                                           Case number (If known)
                Name



        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                               Case 6:17-bk-07779-CCJ                       Doc 1     Filed 12/14/17        Page 10 of 31

 Debtor         Peppy Family Restaurant Group "LLC"                                          Case number (If known)
                Name

           Lounge bathroom
           1 4-tier metal shelf, 1 2-tier metal/wood shelf,
           dark wood framed mirror
           Back hallway
           1 4-tier metal shelf, 1 dolly
           Liquor storage
           1 4-tier liquor cage
           1 4-tier built in shelving unit
           Lounge
           22 low back lounge chairs, 5 wooden lounge
           tables, 17 bar stools, 20 hi-top backed stools,
           5 hi-top tables, 4 linen/paper floor lamps, 2
           small side tables, 1 retractable projector
           screen, 1 projector, 2 42" flat screen TVs, 2
           decorative mirrors, 4 decorative plants, 2
           paintings, 1 wall hanging set, 350 assorted
           stemware, 1 blender, 15 assorted pitchers, 1
           6-beer tap, 6 hand blown glass pendant lights,
           1 frozen margarita machine, 1 cash register
           draw, 2 bar refrigerators, 1 triple sink, 1 hand
           sink, 1 hanging glass rack, 1 custom made
           bottle display shelf.
           Outdoor dining
           4 outdoor tables, 16 chairs, 1 hostess stand, 5
           large potted plants, new bar and plumbing.
           Dining room
           2 laminate tables, 10 wooden tables, 4 tables,
           2 booth tables and booths, 1 built in server
           station, 1 coffee machine, 4 mobile shelving
           units, 13 curtain panels, 10 solar shades, 1 set
           of silverware
           Bathrooms/Hallway
           2 paper towel dispensers, 2 toilet paper
           dispensers, 2 slotted trash bins, 4 framed
           decorative mirrors, 2 hand soap dispensers, 1
           small handbag table.
           Office
           Built in desk, 1 shelf unit, 4 printers                                          $0.00                                      $0.00


           cont'd
           Kitchen
           1 tortilla chip warmer, 15 tortilla baskets, 1
           sandwich prep table, 4 prep tables, 1 prep
           sink, 1 grill, 2 6-burner stoves, 1 water heater,
           1 steam table, 1 Low Boy fridge, 1 flat top, 1
           cheese melter, 1 fryer, assorted kitchen tools,
           1 heat strip/lamp, 1 walk in fridge, 1 double
           door freezer, 1 hood, 2 metal shelves, 3 utility
           cars, 3 hand sinks, 1 rice cooker, 1 ice cream
           maker, 1 food processor, 1 Kitchen Aid mixer,
           1 Vita Prep, 1 Panasonic microwave, 1
           4-compartment sink
           total value of all equipment/tools listed in this
           and the entry directly above reflected under
           this entry.
           "Equipment, inventory, contract rights,
           accounts receivable and proceeds" subject to
           UCC-1 Financing Statement (UCC Number
           201505628731) filed by E Group Hospitality,
           Inc. d/b/a Paxia Modern Mexican & Tequila Bar
           filed on 11/4/2015.                                                              $0.00                              $30,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 4
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                               Case 6:17-bk-07779-CCJ                         Doc 1    Filed 12/14/17         Page 11 of 31

 Debtor         Peppy Family Restaurant Group "LLC"                                            Case number (If known)
                Name



            Manitowac Cuber                                                                  $0.00                                            $500.00



 51.        Total of Part 8.                                                                                                           $30,500.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and           Net book value of       Valuation method used   Current value of
            property                                      extent of            debtor's interest       for current value       debtor's interest
            Include street address or other               debtor's interest    (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Debtor leases 2611
                     Edgewater Dr,
                     Orlando FL 32804                     Lessee                             $0.00                                                 $5.00




 56.        Total of Part 9.                                                                                                                   $5.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of       Valuation method used    Current value of
                                                                               debtor's interest       for current value        debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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                               Case 6:17-bk-07779-CCJ                       Doc 1     Filed 12/14/17          Page 12 of 31

 Debtor         Peppy Family Restaurant Group "LLC"                                          Case number (If known)
                Name

 61.        Internet domain names and websites
            peppybistro.com
            The Peppy Bistro's restaurant website.                                          $0.00                                             $5.00



 62.        Licenses, franchises, and royalties
            Retail Beverage license
            BEV5810173
            Licensure date: 11/4/2015
            Expires: 10/23/2017
            Currently expired and not renewed.                                              $0.00                                             $5.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            The Peppy Bistro
            fictitious name registration filed with the State
            of Florida on 10/29/2015, expires 12/31/2020.                                   $0.00                                             $5.00



 65.        Goodwill

 66.        Total of Part 10.                                                                                                            $15.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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                                 Case 6:17-bk-07779-CCJ                                  Doc 1            Filed 12/14/17                Page 13 of 31

 Debtor          Peppy Family Restaurant Group "LLC"                                                                 Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $14,300.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $1,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $30,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $5.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                         $15.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $45,815.00          + 91b.                      $5.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $45,820.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                                Case 6:17-bk-07779-CCJ                           Doc 1          Filed 12/14/17         Page 14 of 31
 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1   E Group Hospitality, Inc.                      Describe debtor's property that is subject to a lien                    $21,000.00                $30,000.00
       Creditor's Name                                sales agreement subject to UCC-1 financing
       c/o Kenneth Gluckman                           statement (Instrument 201505628731) filed on
       1079 W Morse Blvd                              11/4/2015 with the Florida Secured
       Suite C                                        Transaction Registry by E Group Hospitality.
       Winter Park, FL 32789
       Creditor's mailing address                     Describe the lien
                                                      Business Loan
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2015                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                             Contingent
           Yes. Specify each creditor,                    Unliquidated
       including this creditor and its relative           Disputed
       priority.
       Landlord, unknown priority


       Park Edgewater Holdings,
 2.2                                                                                                                        $371,322.00                       $0.00
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                est lease damages
       Chang Park, Registered
       Agent
       8130 Tibet Butler Dr
       Windermere, FL 34786
       Creditor's mailing address                     Describe the lien
                                                      Lease
                                                      Is the creditor an insider or related party?
                                                          No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                             No
       2015                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                 Case 6:17-bk-07779-CCJ                          Doc 1          Filed 12/14/17               Page 15 of 31
 Debtor       Peppy Family Restaurant Group "LLC"                                                       Case number (if know)
              Name

            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.



        Servco Appliance Sales &
 2.3                                                                                                                               $350.00              $500.00
        Ser                                           Describe debtor's property that is subject to a lien
        Creditor's Name                               Manitowac Cuber
        6418 Milner Blvd
        Suite D
        Orlando, FL 32809
        Creditor's mailing address                    Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                            No
        2017                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                            Contingent
            Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative          Disputed
        priority.
        Landlord, unknown priority


 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $392,672.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Gasdick Stanton Early
         1601 W Colonial Dr                                                                                     Line   2.2
         Orlando, FL 32804

         Patricio Estrella
         c/o Cordero CPA                                                                                        Line   2.1
         1302 N Main St
         Kissimmee, FL 34744




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                                 Case 6:17-bk-07779-CCJ                       Doc 1          Filed 12/14/17                 Page 16 of 31
 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $400.00
           Breakthru Beverage                                                   Contingent
           502 Sunport Ln                                                       Unliquidated
           Suite 100                                                            Disputed
           Orlando, FL 32809
                                                                             Basis for the claim:    supplier
           Date(s) debt was incurred     2017
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $215.00
           First Data                                                           Contingent
           PO Box 173845                                                        Unliquidated
           Denver, CO 80217                                                     Disputed
           Date(s) debt was incurred     2017                                Basis for the claim:    point of sale equipment lease
           Last 4 digits of account number      2093
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $500.00
           Owens Distributing                                                   Contingent
           2850 W Airport Blvd
                                                                                Unliquidated
           Sanford, FL 32771
                                                                                Disputed
           Date(s) debt was incurred     2017
                                                                             Basis for the claim:    dishwasher lease
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                         30142                                            Best Case Bankruptcy
                               Case 6:17-bk-07779-CCJ                         Doc 1       Filed 12/14/17                Page 17 of 31
 Debtor       Peppy Family Restaurant Group "LLC"                                                 Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                 related creditor (if any) listed?                account number, if
                                                                                                                                                  any
 4.1       Breakthru Beverage
           PO Box 820410                                                                         Line     3.1
           South Florida, FL 33082
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                           0.00
 5b. Total claims from Part 2                                                                       5b.    +    $                       1,115.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                            1,115.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 2
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                               Case 6:17-bk-07779-CCJ                     Doc 1       Filed 12/14/17          Page 18 of 31
 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   lease of dishwasher,
             lease is for and the nature of               $500 a month.
             the debtor's interest

                  State the term remaining
                                                                                       Owens Distributor
             List the contract number of any                                           2850 W Airport Blvd
                   government contract                                                 Sanford, FL 32771


 2.2.        State what the contract or                   Lease of space for the
             lease is for and the nature of               restaurant The Peppy
             the debtor's interest                        Bistro. Rent is $7,500
                                                          per month.
                  State the term remaining                36 months
                                                                                       Park Edgewater Holdings
             List the contract number of any                                           8130 Tibet Butler Dr
                   government contract                                                 Windermere, FL 34786




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                               Case 6:17-bk-07779-CCJ                  Doc 1     Filed 12/14/17           Page 19 of 31
 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Gerald C Peppy,                   13960 Caywood Pond Dr                             E Group Hospitality,               D   2.1
             Jr.                               Windermere, FL 34786                              Inc.                               E/F
                                                                                                                                    G




    2.2      Gerald C Peppy,                   13960 Caywood Pond Dr                             Servco Appliance                   D   2.3
             Jr.                               Windermere, FL 34786                              Sales & Ser                        E/F
                                                                                                                                    G




    2.3      Gerald C Peppy,                   13960 Caywood Pond Dr                             Park Edgewater                     D   2.2
             Jr.                               Windermere, FL 34786                              Holdings, LLC                      E/F
                                                                                                                                    G




    2.4      Gerald C Peppy,                   13960 Caywood Pond Dr                             First Data                         D
             Jr.                               Windermere, FL 34786                                                                 E/F       3.2
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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                               Case 6:17-bk-07779-CCJ                          Doc 1        Filed 12/14/17             Page 20 of 31



 Fill in this information to identify the case:

 Debtor name         Peppy Family Restaurant Group "LLC"

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $143,000.00
       From 1/01/2017 to Filing Date
                                                                                                   Other    gross receipts


       For prior year:                                                                             Operating a business                               $240,035.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    gross receipts


       For year before that:                                                                       Operating a business                                 $60,256.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other    gross receipts

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                               Case 6:17-bk-07779-CCJ                          Doc 1        Filed 12/14/17             Page 21 of 31
 Debtor       Peppy Family Restaurant Group "LLC"                                                       Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Park Edgewater Holdings, LLC                                10/2017                          $23,000.00                Secured debt
               Chang Park, Registered Agent                                9/2017                                                     Unsecured loan repayments
               8130 Tibet Butler Dr                                                                                                   Suppliers or vendors
               Windermere, FL 34786                                                                                                   Services
                                                                                                                                      Other Rent payments.



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property

       Park Edgewater Holdings, LLC                              2611 Edgewater Dr, Orlando, FL 32804                          11/9/2017                      Unknown
       Chang Park, Registered Agent
       8130 Tibet Butler Dr
       Windermere, FL 34786


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Park Edgewater Holdings,                          Breach of                  Orange County                                  Pending
               LLC v. Peppy Family                               Agreement/Contra           425 N Orange Ave                               On appeal
               Restaurant Group, LLC dba                         ct                         Orlando, FL 32801
                                                                                                                                           Concluded
               The Peppy Bistro and Gerald
               C. Peppy, Jr. individually
               2017-CA-009516-O

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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                               Case 6:17-bk-07779-CCJ                            Doc 1         Filed 12/14/17             Page 22 of 31
 Debtor        Peppy Family Restaurant Group "LLC"                                                          Case number (if known)




           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                  Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.                                                                                                                   10/2017
                                                                                                                               final
                Budgen Law                                                                                                     documents
                PO Box 520546                                                                                                  received
                Longwood, FL 32750                                   Attorney Fees                                             12/2017             $1,280.00

                Email or website address
                tbudgen@mybankruptcyfirm.com

                Who made the payment, if not debtor?
                Mother



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 3
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                               Case 6:17-bk-07779-CCJ                          Doc 1        Filed 12/14/17             Page 23 of 31
 Debtor      Peppy Family Restaurant Group "LLC"                                                        Case number (if known)




           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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                               Case 6:17-bk-07779-CCJ                          Doc 1        Filed 12/14/17             Page 24 of 31
 Debtor      Peppy Family Restaurant Group "LLC"                                                        Case number (if known)




          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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                               Case 6:17-bk-07779-CCJ                          Doc 1        Filed 12/14/17              Page 25 of 31
 Debtor      Peppy Family Restaurant Group "LLC"                                                        Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Melvyn Saluck                                                                                                              2011 to present.
                    3335 SE Maricamp Rd
                    #108
                    Ocala, FL 34471

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Gerald C Peppy, Jr                                                                                       $1,000. Estimated liquidation value of
       .                                                                                    10/17/2017               unopened alcohol.

                Name and address of the person who has possession of
                inventory records
                Gerald C Peppy, Jr.



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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                               Case 6:17-bk-07779-CCJ                          Doc 1        Filed 12/14/17             Page 26 of 31
 Debtor      Peppy Family Restaurant Group "LLC"                                                        Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Gerald C Peppy, Jr.                            13960 Caywood Pond Rd                               Member                                100%
                                                      Windermere, FL 34786



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 5, 2017

 /s/ Gerald C Peppy, Jr                                                 Gerald C Peppy, Jr
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                               Case 6:17-bk-07779-CCJ                      Doc 1      Filed 12/14/17   Page 27 of 31




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Peppy Family Restaurant Group "LLC"                                                        Case No.
                                                                                 Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 5, 2017                                         /s/ Gerald C Peppy, Jr
                                                                      Gerald C Peppy, Jr/Manager
                                                                      Signer/Title




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    Case 6:17-bk-07779-CCJ   Doc 1   Filed 12/14/17   Page 28 of 31


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               Peppy Family Restaurant Group "LLC"
               13960 Caywood Pond Dr
               Windermere, FL 34786

               L. Todd Budgen
               Budgen Law
               PO Box 520546
               Longwood, FL 32750

               Breakthru Beverage
               502 Sunport Ln
               Suite 100
               Orlando, FL 32809

               Breakthru Beverage
               PO Box 820410
               South Florida, FL 33082

               E Group Hospitality, Inc.
               c/o Kenneth Gluckman
               1079 W Morse Blvd
               Suite C
               Winter Park, FL 32789

               First Data
               PO Box 173845
               Denver, CO 80217

               Gasdick Stanton Early
               1601 W Colonial Dr
               Orlando, FL 32804

               Gerald C Peppy, Jr.
               13960 Caywood Pond Dr
               Windermere, FL 34786

               Owens Distributing
               2850 W Airport Blvd
               Sanford, FL 32771

               Owens Distributor
               2850 W Airport Blvd
               Sanford, FL 32771

               Park Edgewater Holdings
               8130 Tibet Butler Dr
               Windermere, FL 34786

               Park Edgewater Holdings, LLC
               Chang Park, Registered Agent
               8130 Tibet Butler Dr
               Windermere, FL 34786
Case 6:17-bk-07779-CCJ   Doc 1   Filed 12/14/17   Page 29 of 31



           Patricio Estrella
           c/o Cordero CPA
           1302 N Main St
           Kissimmee, FL 34744

           Servco Appliance Sales & Ser
           6418 Milner Blvd
           Suite D
           Orlando, FL 32809
                               Case 6:17-bk-07779-CCJ                      Doc 1     Filed 12/14/17           Page 30 of 31
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re       Peppy Family Restaurant Group "LLC"                                                              Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,280.00
             Prior to the filing of this statement I have received                                        $                     1,280.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation in any judicial lien avoidances, relief from stay actions, contested motions, 2004 examinations, or
               any adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 5, 2017                                                           /s/ L. Todd Budgen
     Date                                                                       L. Todd Budgen 0296960
                                                                                Signature of Attorney
                                                                                Budgen Law
                                                                                PO Box 520546
                                                                                Longwood, FL 32750

                                                                                Name of law firm




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                               Case 6:17-bk-07779-CCJ                      Doc 1     Filed 12/14/17   Page 31 of 31




                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Peppy Family Restaurant Group "LLC"                                                       Case No.
                                                                                Debtor(s)             Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Peppy Family Restaurant Group "LLC" in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 December 5, 2017                                                    /s/ L. Todd Budgen
 Date                                                                L. Todd Budgen 0296960
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Peppy Family Restaurant Group "LLC"
                                                                     Budgen Law
                                                                     PO Box 520546
                                                                     Longwood, FL 32750




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